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                             UNITED STATES DISTRICT COURT
                             NORTHERN DISTRICT OF ILLINOIS
                                   EASTERN DIVISION

UNITED STATES OF AMERICA                              )
                                                      )       No. 09 CR 383-5, 383-9
               v.                                     )
                                                      )       Judge Ruben Castillo
ALFREDO VASQUEZ-HERNANDEZ                             )
     a/k/a “Alfredo Compadre;” and                    )
TOMAS AREVALO-RENTERIA                                )



        GOVERNMENT’S SUPPLEMENTAL CONSOLIDATED RESPONSE TO
                  DEFENDANTS’ PRE-TRIAL MOTIONS

       The UNITED STATES OF AMERICA, by its attorney, GARY S. SHAPIRO, United States

Attorney for the Northern District of Illinois, hereby supplements its response to defendants Alfredo

Vasquez-Hernandez and Tomas Arevalo Renteria’s pre-trial motions.              With regard to the

outstanding motions on which the Court has not yet ruled, counsel for the government has met and

conferred for counsel for both defendant Vasquez-Hernandez and defendant Arevalo-Renteria, and

counsel are in agreement that there are not currently any disputes requiring a ruling by the Court.

The government briefly describes the nature of the motions, the government’s responses, and the

substance of counsel’s discussions below.

       Background

       On December 3, 2012, defendant Arevalo-Renteria filed a Motion for Severance ( R. 195)

and a Motion for Discovery (R.196). On December 5, 2012, defendant Vasquez-Hernandez filed

a Motion for Discovery (R.198 and 203); a Motion for a Bill of Particulars (R. 199, 205); a Motion

for Rule 12(b)(4) Disclosure (R. 200); a Motion for Extension of Time (which the government did

not oppose) (R. 201); and a Motion to Sever defendants (which adopted defendant Arevalo-

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Renteria’s Motion for Severance) (R. 202). On April 10, 2013, the government filed a consolidated

response to defendants’ pre-trial motions. R. 218. In that response, the government did not oppose

the severance of defendants from defendant Zambada-Niebla, but did oppose a severance of

defendant Vasquez-Hernandez from defendant Arevalo-Renteria. Id. At a status hearing on May

9, 2013, the Court granted the severance of defendants from Zambada-Niebla, but denied the motion

for severance of defendant Vasquez-Hernandez from defendant Arevalo-Renteria. R.221. The

Court set a deadline June 28, 2013 for defendant’s reply briefs, if any, as to the remaining discovery-

related motions.

       At a status on July 17, 2013, the Court inquired about the status of the outstanding motions.

R.221. Counsel for the government, frankly, forgot that the government had already responded to

defendants’ other motions related to discovery and Brady/Giglio requests, and defendants’ motion

for a Bill of Particulars. Consequently, the Court ordered the government to respond to those

motions by August 29, 2013, although, as noted, the government had responded on April 10, 2013.

       Discussions Among the Parties.

       In August 2013, counsel for the government met and conferred with counsel for both

defendant Vasquez-Hernandez and Arevalo-Renteria regarding their outstanding motions. With

regard to each, the parties agree that there is no discovery dispute for the Court to resolve at this

time. Counsel for all parties agreed to work in good faith to resolve any discovery disputes, with

the government acknowledging its ongoing discovery obligations. All parties acknowledged that

the government has produced voluminous discovery, and the government acknowledged that, as trial

approaches, it will produce any additional Giglio and 3500 material.

       The government’s response to defendant’s original motions (R. 218, sections II and III)


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remains valid. In light of the parties’ discussions, the government respectfully requests that the

Court: (1) grant defendants’ discovery motions to the extent they are consistent with Brady, Giglio

and the government’s standard discovery obligations; (2) deny defendant Vasquez-Hernandez’s

motion for Rule 12(b)(4) disclosures; and (3) deny defendant Vasquez-Hernandez’s motion for a bill

of particulars, without prejudice to a subsequent motion should a dispute arise between the parties.

       The parties will be prepared to address any outstanding issues with the Court at the next

status on September, 11, 2013.



                                                     Respectfully submitted,

                                                     GARY S. SHAPIRO
                                                     United States Attorney

                                              By:     s/Thomas D. Shakeshaft
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Dated: August 29, 2013




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                                 CERTIFICATE OF SERVICE


       The undersigned Assistant United States Attorney hereby certifies that in accordance with

FED. R. CRIM. P. 49, FED. R. CIV. P. 5, LR 5.5, and the General Order on Electronic Case Filing

(ECF), the following document:

        GOVERNMENT’S SUPPLEMENTAL CONSOLIDATED RESPONSE TO
                  DEFENDANTS’ PRE-TRIAL MOTIONS

was served pursuant to the district court’s ECF system as to ECF filers on AUGUST 30, 2013.




                                            By:    s/Thomas D. Shakeshaft
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